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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION
10,052, LLC,

       Plaintiff,

v.                                     CASE NO. 3:24-mc-55-MCR-ZCB

JOHN MARTIN and
BEYOND RECOGNITION, INC.,

     Defendant.
_____________________________/

                                      ORDER

       Plaintiff has filed a Motion to Transfer Divisions, ECF No. 4, indicating this

case was mistakenly filed in the United States District Court Northern District of

Florida, Division 3 – Pensacola and that the proper division is Division 4 -

Tallahassee. This Court may order any cause transferred from one division to

another division. See N.D. Fla. Loc. R. 3.1(C).

       Accordingly, the Plaintiff’s Motion to Transfer Divisions, ECF No. 4, is

GRANTED and the Clerk is directed to redocket this case in Division 4 -

Tallahassee.

       DONE and ORDERED on this 2nd day of October 2024.


                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE
